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IN THE UNITED STATES DISTRICT 2
FOR THE DISTRICT OF COLORADO

Judge William J. Martinez ts

Criminal Case No. 19-cr-257-WJM we
UNITED STATES OF AMERICA, wy
Plaintiff,
Vv. oy
ERIC KING, ee ye
Defendant. ‘| ‘lia cc
!

 

FINAL JURY INSTRUCTIONS

 

PART |: GENERAL INSTRUCTIONS & EVIDENTIARY CONSIDERATIONS

Members of the Jury:

In any jury trial there are, in effect, two judges. | am one of the judges, you are
the other. | am the judge of the law. You, as jurors, are the judges of the facts. |
presided over the trial and decided what evidence was proper for your consideration. It
is also my duty at the end of the trial to explain to you the rules of law that you must
follow and apply in arriving at your verdict.

In explaining the rules of law that you must follow, first, | will give you some
general instructions which apply in every criminal case—for example, instructions about
burden of proof and insights that may help you to judge the believability of witnesses.
Then I will give you some specific rules of law that apply to this particular case and,
finally, | will explain the procedures you should follow in your deliberations, and the

possible verdicts you may return. These instructions will be given to you for use in the
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jury room, so you need not take notes.'

 

' Tenth Circuit Criminal Pattern Jury Instructions § 1.03 (2021); Stipulated Proposed Jury
Instructions S1 (ECF No. 125 at 2) (adopted).
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DUTY TO FOLLOW INSTRUCTIONS

You, as jurors, are the judges of the facts. But in determining what actually
happened—that is, in reaching your decision as to the facts—it is your sworn duty to
follow all of the rules of law as | explain them to you.

You have no right to disregard or give special attention to any one instruction, or
to question the wisdom or correctness of any rule | may state to you. You must not
substitute or follow your own notion or opinion as to what the law is or ought to be. It is
your duty to apply the law as | explain it to you, regardless of the consequences.
However, you should not read into these instructions, or anything else | may have said
or done, any suggestion as to what your verdict should be. That is entirely up to you.

It is also your duty to base your verdict solely upon the evidence, without

prejudice or sympathy. That was the promise you made and the oath you took.”

 

2 Tenth Circuit Criminal Pattern Jury Instructions § 1.04 (2021).
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EVIDENCE—DEFINED

You must make your decision based only on the evidence that you saw and
heard here in court. Do not let rumors, suspicions, or anything else that you may have
seen or heard outside of court influence your decision in any way.

The evidence in this case includes only what the witnesses said while they were
testifying under oath, the exhibits that | allowed into evidence, and the stipulations to
which the lawyers have agreed.

Nothing else is evidence. The lawyers’ statements and arguments are not
evidence. Their questions and objections are not evidence. My legal rulings are not
evidence. And my comments and questions are not evidence.

During the trial, | did not let you hear the answers to some of the questions that
the lawyers asked. | also ruled that you could not see some of the exhibits that the
lawyers wanted you to see. You must completely ignore all of these things. Do not
even think about them. Do not speculate about what a witness might have said or what
an exhibit might have shown. These things are not evidence, and you are bound by

your oath not to let them influence your decision in any way.?

 

3 Tenth Circuit Criminal! Pattern Jury Instructions § 1.06 (2021).
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DIRECT AND CIRCUMSTANTIAL EVIDENCE

There are, generally speaking, two types of evidence from which a jury may
properly determine the facts of a case. One is direct evidence, such as the testimony of
an eyewitness. The other is indirect or circumstantial evidence, that is, the proof of a
chain of facts which point to the existence or non-existence of certain other facts.

As a general rule, the law makes no distinction between direct and circumstantial
evidence. The law simply requires that you find the facts in accord with all the evidence
in the case, both direct and circumstantial.

While you must consider only the evidence in this case, you are permitted to
draw reasonable inferences from the testimony and exhibits, inferences you feel are
justified in the light of common experience. An inference is a conclusion that reason
and common sense may lead you to draw from facts which have been proved.

By permitting such reasonable inferences, you may make deductions and reach
conclusions that reason and common sense lead you to draw from the facts which have

been established by the testimony and evidence in this case.*

 

‘ Tenth Circuit Criminal Pattern Jury Instructions § 1.07 (2021).
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INDICTMENT IS NOT EVIDENCE
The defendant has been charged by the government with violation of a federal
law. The charge against the defendant is contained in the indictment. The indictment is
simply the description of the charge made by the government against the defendant; it
is not evidence of anything. The defendant pleaded not guilty to the charge and denies
committing the offense. He is presumed innocent and may not be found guilty by you
unless all twelve of you unanimously find that the government has proved his guilt

beyond a reasonable doubt.5

 

5 Fed. Jury Prac. and Instr. § 1.
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CAUTION—CONSIDER ONLY CRIME CHARGED

You are here to decide whether the government has proved beyond a reason-
able doubt that the defendant is guilty of the crime charged. The defendant is not on trial
for any act, conduct, or crime not charged in the indictment.

It is not up to you to decide whether anyone who is not on trial in this case should
be prosecuted for the crime charged. The fact that another person a/so may be guilty is
no defense to a criminal charge.

The question of the possible guilt of others should not enter your thinking as you

decide whether this defendant has been proved guilty of the crime charged.®

 

® Tenth Circuit Criminal Pattern Jury Instructions § 1.19 (2021); Stipulated Proposed Jury
Instructions S8 (ECF No. 125 at 10) (adopted).
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BURDEN OF PROOF

The Government has the burden of proving the defendant guilty beyond a
reasonable doubt. The law does not require a defendant to prove his innocence or
produce any evidence at all. The Government has the burden of proving the defendant
guilty beyond a reasonable doubt, and if it fails to do so, you must find the defendant not
guilty.

Proof beyond a reasonable doubt is proof that leaves you firmly convinced of the
defendant's guilt. There are few things in this world that we know with absolute
certainty, and in criminal cases the law does not require proof that overcomes every
possible doubt. It is only required that the government's proof exclude any “reasonable
doubt” concerning the defendant's guilt. A reasonable doubt is a doubt based on
reason and common sense after careful and impartial consideration of all the evidence
in this case. If, based on your consideration of the evidence, you are firmly convinced
that the defendant is guilty of the crime charged, you must find him guilty. If on the
other hand, you think there is a real possibility that he is not guilty, you must give him

the benefit of the doubt and find him not guilty.’

 

? Tenth Circuit Criminal Pattern Jury Instructions § 1.05 (2021).
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STIPULATIONS

You have heard me say that the parties have stipulated to certain facts. This
agreement makes the presentation of any evidence to prove this fact unnecessary. The
agreement means that you may, but are not required to, accept these facts as true:®

Government Exhibit 29 is the defendant's shirt that he was wearing at the time of
the alleged incident between Lieutenant Wilcox and the defendant on August 17, 2018.
The shirt is in the same or substantially the same condition as it was immediately
following the incident. It is further stipulated that Government Exhibit 29 is admitted into
evidence.

Government Exhibit 30 is the defendant's pants that he was wearing at the time
of the alleged incident between Lieutenant Wilcox and the defendant on August 17,
2018. The pants are in the same or substantially the same condition as they were
immediately following the incident. It is further stipulated that Government Exhibit 30 is
admitted into evidence.

Government Exhibit 31 is the defendant's glasses that he was wearing at the
time of the alleged incident between Lieutenant Wilcox and the defendant on August 17,
2018. The glasses are in the same or substantially the same condition as they were
immediately following the incident. It is further stipulated that Government Exhibit 31 is
admitted into evidence.

Government Exhibit 32 is Lieutenant Wilcox's shirt that he was wearing at the
time of the alleged incident between Lieutenant Wilcox and the defendant on August 17,

2018. The shirt is in the same or substantially the same condition as it was immediately

 

8 Colorado Jury Instructions—Civil § 1:13.
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following the incident. It is further stipulated that Government Exhibit 32 is admitted into
evidence.

Government Exhibit 33 is Lieutenant Wilcox’s pants that he was wearing at the
time of the alleged incident between Lieutenant Wilcox and the defendant on August 17,
2018. The pants are in the same or substantially the same condition as they were
immediately following the incident. It is further stipulated that Government Exhibit 33 is

admitted into evidence.®

 

® Trial Stipulations (ECF No. 224).

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CREDIBILITY OF WITNESSES

| remind you that it is your job to decide whether the government has proved the

guilt of the defendant beyond a reasonable doubt. In doing so, you must consider all of

the evidence. This does not mean, however, that you must accept all of the evidence

as true or accurate.

You are the sole judges of the credibility or “believability” of each witness and the

weight to be given to the witness's testimony. An important part of your job will be

making judgments about the testimony of the witnesses who testified in this case. You

should think about the testimony of each witness you have heard and decide whether

you believe all or any part of what each witness had to say, and how important that

testimony was. In making that decision, | suggest that you ask yourself a few questions:

Did the witness impress you as honest?

Did the witness have any particular reason not to tell the truth?

Did the witness have a personal interest in the outcome in this case?
Did the witness have any relationship with either the government or the
defense?

Did the witness seem to have a good memory?

Did the witness clearly see or hear the things about which he/she
testified?

Did the witness have the opportunity and ability to understand the
questions clearly and answer them directly?

Did the witness’s testimony differ from the testimony of other witnesses?

When weighing the conflicting testimony, you should consider whether the

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discrepancy has to do with a material fact or with an unimportant detail. And you should
keep in mind that innocent misrecollection—like failure of recollection—is not
uncommon.

The testimony of the defendant should be weighed and his credibility evaluated
in the same way as that of any other witness.

In reaching a conclusion on particular point, or ultimately in reaching a verdict in
this case, do not make any decisions simply because there were more witnesses on

one side than on the other.'°

 

‘° Tenth Circuit Criminal Pattern Jury Instructions § 1.08 (2021); Stipulated Proposed
Jury Instructions S2 (ECF No. 125 at 3-4) (modified).

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EVIDENCE ADMITTED FOR LIMITED PURPOSE
In certain instances evidence may be admitted only concerning a particular party
or only for a particular purpose and not generally against all parties or for all purposes.
For the limited purpose for which this evidence has been received you may give it such
weight as you feel it deserves. You may not, however, use this evidence for any other

purpose or against any party not specifically mentioned."'

 

‘1 3 Fed. Jury Prac. & Instr. § 104.42 (5th ed.).

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EVIDENCE FOR A LIMITED PURPOSE REGARDING DUSTIN GUSTAFSON
You heard evidence from Dustin Gustafson about an interaction he had with the
defendant. | instruct you that this evidence was admitted only as it bears on the
defendant's motive or intent, and therefore, you must consider it only for that limited

purpose and not for any other purpose. '?

 

'2 Oth Cir. Crim. J.l. 2.12 (evidence for a limited purpose); Stipulated Supplemental
Proposed Jury Instructions Following Ruling on Motions in Limine (ECF No. 189 at 1) (adopted).

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USE OF WORDS “THREAT” AND “ASSAULT”

During the trial you have heard the lawyers or the witnesses use the terms
“threat” or “assault.” These are common words in the English language and you should
not attach any special significance to any lawyer's or witness's use of the terms “threat”
or “assault” in evaluating the evidence in this case. | remind you that it is for you, and
you alone, to determine whether or not the government has proven beyond a

reasonable doubt the defendant committed the crime charged in the indictment.'*

 

'3 Stipulated Supplemental Proposed Jury Instructions Following Ruling on Motions in
Limine (ECF No. 189 at 2) (adopted; no other source provided).

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IMPEACHMENT BY PRIOR INCONSISTENCIES
You have heard the testimony of Lieutenant Wilcox, Lieutenant Kammrad, and
Richard White. You have also heard that, before this trial, they made statements that
may be different from their testimony here in court.
The earlier statements were brought to your attention only to help you decide
how believable their testimony in this trial was. You cannot use it as proof of anything

else. You can only use it as one way of evaluating their testimony here in court.'4

 

4 Tenth Circuit Criminal Pattern Jury Instructions § 1.10 (2021); Stipulated Proposed
Jury Instructions S4 (ECF No. 125 at 6) (adopted).

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EVIDENCE OF A PRIOR CONVICTION
(Defendant's Testimony)

You have heard evidence that the defendant has been previously convicted of a
felony, that is, a crime punishable by imprisonment for a term of years. The fact that
the defendant has been convicted of another crime does not mean that he committed
the crime charged in this case, and you must not use his prior conviction as proof of the
crime charged in this case. You may find him guilty of the crime charged here only if

the government has proved beyond a reasonable doubt that he committed it.

 

'S Tenth Circuit Criminal Pattern Jury Instructions § 1.11 (2021); Stipulated Proposed
Jury Instructions S5 (ECF No. 125 at 7) (modified).

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SIMILAR ACTS/OTHER ACTS EVIDENCE
You have heard evidence of other acts engaged in by the defendant. You may
consider that evidence only as it bears on the defendant's motive or intent and for no
other purpose. Of course, the fact that the defendant may have previously committed
an act similar to the one charged in this case does not mean that the defendant

necessarily committed the act charged in this case.'¢

 

16 Tenth Circuit Criminal Pattern Jury Instructions § 1.30 (2021) (modified); Stipulated
Proposed Jury Instructions S11 (ECF No. 125 at 13) (modified); Defendant's Competing
Supplemental Proposed Jury Instructions Following Ruling on Motions in Limine (ECF No. 188
at 1) (Defendant used the Tenth Circuit pattern except modified to add the last sentence, which
is not included in this instruction); Government's Competing Supplemental Proposed Jury
Instruction Following Ruling on Motions in Limine (ECF No. 190 at 1) (used the Tenth Circuit
pattern without modification).

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DEFENDANT IN CUSTODY
During trial, you heard evidence from which you might infer or conclude that the
defendant is currently in custody. You are instructed that you shall not consider this fact
or any inference from this fact whatsoever of any evidence of his guilt of the crime

charged against him in this case."”

 

'7 Jury instruction from United States v. Pappas; this instruction was not proposed by
either party.

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ALL AVAILABLE WITNESSES NEED NOT BE PRODUCED
The law does not require any party to call as witnesses all persons who may
have been present at any time or place involved in the case, or who may appear to
have some knowledge of the matters in issue at this trial. Nor does the law require any
party to produce as exhibits all papers and things mentioned in the evidence in the

case. 18

 

'8 3 Fed. Jury Prac. & Instr. § 105.11 (5th ed.).

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NUMBER OF WITNESSES

The weight of the evidence is not necessarily determined by the number of
witnesses testifying to the existence or nonexistence of any fact. You may find that the
testimony of a small number of witnesses as to any fact is more credible than the
testimony of a larger number of witnesses to the contrary.

You are not bound to decide any issue of fact in accordance with the testimony of
any number of witnesses that does not produce in your minds belief in the likelihood of
truth, as against the testimony of a lesser number of witnesses or other evidence
producing such belief in your minds.

The test is not which side brings the greater number of witnesses or takes the
most time to present its evidence, but which witnesses and which evidence appeal to

your minds as being most accurate and otherwise trustworthy. '®

 

9 3 Fed. Jury Prac. & Instr. § 104.54 (5th ed.).

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LAWYERS’ OBJECTIONS
The lawyers for both sides objected to some of the things that were said or done
during the trial. Do not hold that against either side. The lawyers have a duty to object
whenever they think that something is not permitted by the rules of evidence. Those
rules are designed to make sure that both sides receive a fair trial.
Do not interpret my rulings on their objections as any indication of how | think the
case should be decided. My rulings were based on the rules of evidence, not on how |

feel about the case.?°

 

20 Sixth Circuit Criminal Pattern Jury Instructions § 1.09.

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PART Il: ELEMENTS OF CRIME CHARGED
That concludes the part of my instructions explaining your duties and the general
rules that apply in every criminal case. Now | will explain the elements of the crime

charged in this case.

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ASSAULTING A FEDERAL OFFICER: 18 U.S.C. § 111

Mr. King is charged in count one with a violation of 18 U.S.C. section 111.

This law makes it a crime to forcibly assault a federal officer while the officer is
engaged in the performance of his official duties.

To find Mr. King guilty of this crime you must be convinced that the government
has proved each of the following beyond a reasonable doubt:

First. Mr. King forcibly assaulted D.W.;

Second: D.W. was a federal officer who was then engaged in the performance of
his official duty, as charged;

Third: Mr. King did such act intentionally, and;

Fourth: in doing such acts, Mr. King inflicted bodily injury.

Before you can find the defendant guilty you must find, beyond a reasonable
doubt, that he acted forcibly. The defendant acted forcibly if he used force, attempted to
use force, or threatened to presently use force against the federal officer. A threat to
use force at some unspecified time in the future is not sufficient to establish that the
defendant acted forcibly.

The act proscribed by the offense—assault—requires an underlying simple
assault. Simple assault means any intentional attempt or threat to inflict injury upon
someone else, when coupled with an apparent present ability to do so. A finding that
one used force (or attempted or threatened to use it) isn’t the same as a finding that he
attempted or threatened to inflict injury. Thus, in addition to finding beyond a reasonable
doubt that the defendant acted forcibly, you must also find that the defendant intended

to inflict or intended to threaten injury.

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The term “bodily injury” means an injury that is painful and obvious or is of a type
for which medical attention ordinarily would be sought.

You are instructed that “D.W.” is a federal correctional officer, and that it is a part
of the official duties of such an officer to ensure the safety and security of Bureau of
Prisons inmates, staff, and facilities.

It is not necessary to show that the defendant knew the person being forcibly
assaulted was, at that time, a federal officer carrying out an official duty so long as it is
established beyond a reasonable doubt that the victim was, in fact, a federal officer
acting in the course of his duty and that the defendant intentionally forcibly assaulted
that officer.

A person is “engaged in the performance of his official duties” if he is acting
within the scope of what he is employed to do rather than engaging in a personal frolic
of his own.

On the other hand, the defendant would not be guilty of assaulting an officer if
the defendant had no knowledge of the officer's identity and reasonably believed he
was the subject of a hostile attack against his person such that he was entitled to use
reasonable force in his self-defense. The government must establish beyond a
reasonable doubt that the defendant did not act in self-defense.

The test of whether D.W. was a federal official “engaged in the performance of
his official duties” is whether the facts and circumstances show that D.W. acted within
the compass of what he is employed to do as a federal officer or whether he engaged in

a personal frolic of his own.?'

 

21 Tenth Circuit Criminal Pattern Jury Instructions § 1.09.1 (2021); United States v.

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if you unanimously find the government has proven this count against the
defendant beyond a reasonable doubt, then your verdict must be guilty on Count One.
If you unanimously find the government has not proven this count against the defendant

beyond a reasonable doubt, then your verdict must be not guilty on Count One.

 

Holder, 256 F.3d 959, 963-64 (10th Cir. 2001); Government's Disputed Proposed Jury
Instruction (ECF No. 126) (modified a portion of the “official duty” phrase of the Tenth Circuit
pattern instruction).

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SELF-DEFENSE

The defendant, Eric King, has offered evidence that he was acting in self-
defense.

A person is entitled to defend himself against the immediate use of unlawful
force. But the right to use force in such a defense is limited to using only as much force
as reasonably appears to be necessary under the circumstances.

A person may use force which is intended or likely to cause death or great bodily
harm only if he reasonably believes that force is necessary to prevent death or great
bodily harm to himself.

To find the defendant guilty of the crime charged in the indictment, you must be
convinced that the government has proved beyond a reasonable doubt:

Either, the defendant did not act in self-defense,

Or, it was not reasonable for the defendant to think that the force he used was

necessary to defend himself against an immediate threat.?2

 

22 Tenth Circuit Criminal Pattern Jury Instruction § 1.28 (2021); Stipulated Proposed Jury
Instructions S13 (ECF No. 125 at 15) (adopted).

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CAUTION—PUNISHMENT
If you find the defendant guilty, it will be my duty to decide what the punishment
will be. You should not discuss or consider the possible punishment in any way while

deciding your verdict.24

 

23 Tenth Circuit Criminal Pattern Jury Instructions § 1.20 (2021); Stipulated Proposed
Jury Instructions S9 (ECF No. 125 at 11) (adopted).

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PART Ili: DELIBERATION AND VERDICT FORM
That concludes the part of my instructions explaining the law that applies in this
case. Now let me finish up by explaining some things about your deliberations in the

jury room and your possible verdicts.

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DUTY TO DELIBERATE—VERDICT FORM

In a moment the bailiff will escort you to the jury room and provide each of you
with a copy of the instructions that | have just read. Any exhibits admitted into evidence
will also be placed in the jury room for your review.

When you go to the jury room, you should first select a foreperson, who will help
to guide your deliberations and will speak for you here in the courtroom. The second
thing you should do is review the instructions. Not only will your deliberations be more
productive if you understand the legal principles upon which your verdict must be
based, but for your verdict to be valid, you must follow the instructions throughout your
deliberations. Remember, you are the judges of the facts, but you are bound by your
oath to follow the law stated in the instructions.

To reach a verdict, whether it is guilty or not guilty, all of you must agree. Your
verdict must be unanimous on each count of the indictment. Your deliberations will be
secret. You will never have to explain your verdict to anyone.

You must consult with one another and deliberate in an effort to reach agreement
if you can do so. Each of you must decide the case for yourself, but only after an
impartial consideration of the evidence with your fellow jurors. During your
deliberations, do not hesitate to reexamine your own opinions and change your mind if
convinced that you were wrong. But do not give up your honest beliefs solely because
of the opinion of your fellow jurors, or for the mere purpose of returning a verdict.

Remember at all times, you are judges—judges of the facts. You must decide

whether the government has proved the defendant guilty beyond a reasonable doubt.

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A form of verdict has been prepared for your convenience.
[Explain the Verdict Form]
The foreperson will write the unanimous answer of the jury in the space provided
for each count of the indictment, either guilty or not guilty. At the conclusion of your

deliberations, the foreperson should date and sign the verdict.

 

24 Tenth Circuit Criminal Pattern Jury instructions § 1.23 (2021).

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COMMUNICATION WITH THE COURT

If you want to communicate with me at any time during your deliberations, please
write down your message or question and give it to the bailiff, who will bring it to my
attention. | will respond as promptly as possible, either in writing or by having you
return to the courtroom so that | can address you orally. | caution you, however, that
with any message or question you might send, you should not tell me any details of your
deliberations or indicate how many of you are voting in a particular way on any issue.

Let me remind you again that nothing | have said in these instructions, nor
anything | have said or done during the trial was meant to suggest to you what | think

your decision should be. That is your exclusive responsibility.

 

25 Tenth Circuit Criminal Pattern Jury Instructions § 1.44 (2021).

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PART IV: THE INDICTMENT
The indictment is reproduced below for your convenience. The indictment states:
COUNT ONE

On or about August 17, 2018, in the State and District of

Colorado, the defendant, ERIC KING, did forcibly assault,

resist, oppose, impede, intimidate, and interfere with D.W.,

an employee and officer of the Federal Bureau of Prisons,

an agency of a branch of the United States Government as

designated in Title 18, United States Code, Section 1114,

and it is further alleged that the assault resulted in actual

physical contact with, and bodily injury to D.W.

In violation of Title 18, United States Code, Sections

111(a)(1), (b).76

You will note that the indictment charges that the crime was committed on or
about a certain date. The Government must prove beyond a reasonable doubt that the
defendant committed the crime reasonably near that date.2”

COont
Seme-counts of the indictment may accuse a defendant of violating the same

statute in more than one way. In other words, the indictment may allege that the statute

in question was violated by various acts which are in the indictment joined by the

 

6 Stipulated Proposed Jury Instructions $12 (ECF No. 125 at 14) (adopted).

2? Tenth Circuit Criminal Pattern Jury Instructions § 1.18 (2021); Stipulated Proposed
Jury Instructions S6 (ECF No. 125 at 8) (adopted).

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conjunctive “and,” while the statute and the elements of the offense are stated in the
disjunctive, using the word “or.” In these instances, it is sufficient for a finding of guilt if
the evidence established beyond a reasonable doubt the violation of the statute by any
one of the acts charged. In order for you to return a guilty verdict, however, all twelve of
you must agree that the same act has been proven.?8

Remember, the indictment is not evidence. You may not rely on anything said in
the indictment to find the defendant guilty on any charge, and you must not let the
indictment influence your weighing of the evidence. You are receiving the indictment
simply to help you understand what you are deliberating about when you consider each

count.

 

28 Fed. R. Crim. P. 7(c), advisory committee notes, n.2 (1944). United States v. Iverson,
818 F.3d 1015, 1026 (10th Cir.), cert. denied, 137 S.Ct. 217 (2016). See also United States v.
Gunther, 546 F.2d 861, 868-69 (10th Cir. 1976) (“It is hornbook law that crime denounced in a
statute disjunctively may be alleged in an indictment in the conjunctive, and thereafter proven in
the disjunctive.”) (internal citations omitted).

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